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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JEROME CORSI,
Plaintiff,

            v.

ROBERT MUELLER, et al                             Civil Action No. 1:18-cv-02885
Defendants

       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANTS
        WASHINGTON POST, JEFF BEZOS, AND MANUEL ROIG-FRANZIA

       Plaintiff Jerome Corsi (“Plaintiff Corsi”) hereby voluntarily dismisses the above-

referenced matter pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i), without prejudice,

ONLY as to claims brought against Defendants Washington Post, Jeff Bezos, and Manuel Roig-

Franzia.

Dated: July 23, 2019                                       Respectfully Submitted,

                                                              /s/ Larry Klayman
                                                           Larry Klayman, Esq.
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                                                           Washington, DC, 20006
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                                                           Counsel for Plaintiff

                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically and served through the court’s ECF system to all counsel of record or parties on

July 23, 2019


                                                    /s/ Larry Klayman
                                                    Larry Klayman, Esq.
